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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


 STATE OF KANSAS et al.,

         Plaintiffs,

 v.
                                                                  No. 24-4041-JWB
 UNITED STATES DEPARTMENT OF
 EDUCATION et al.,

         Defendants.


                   DEFENDANTS’ CROSS-MOTION FOR JUDGMENT
                  ON THE ADMINISTRATIVE RECORD AND DISMISSAL

        For the reasons stated in Defendants’ memorandum in support, Defendants respectfully

move for judgment on the administrative record in their favor, see Olenhouse v. Commodity Credit

Corp., 42 F.3d 1560, 1580 (10th Cir. 1994), and for partial dismissal of Plaintiffs’ claims pursuant

to Federal Rule of Civil Procedure 12(b).




Dated: September 26, 2024                          Respectfully submitted,
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                                  BRIAN M. BOYNTON
                                  Principal Deputy Assistant Attorney General

                                  EMILY B. NESTLER
                                  Assistant Branch Director

                                  /s/ Rebecca Kopplin
                                  REBECCA KOPPLIN
                                  Cal. Bar 313970
                                  CLAYTON L. BAILEY
                                  PARDIS GHEIBI
                                  JOHN T. LEWIS
                                  BENJAMIN TAKEMOTO
                                  ELIZABETH TULIS
                                  Trial Attorneys
                                  United States Department of Justice
                                  Civil Division, Federal Programs Branch
                                  1100 L Street NW
                                  Washington, DC 20005
                                  Phone: 202-514-3953
                                  Email: Rebecca.M.Kopplin@usdoj.gov

                                  Counsel for Defendants
